      3:22-cv-01007-MGL         Date Filed 07/11/22      Entry Number 17        Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


SOUTH CAROLINA STATE                         )
CONFERENCE OF THE NAACP,                     )
                                             )
                 Vs.                         )       C/A No. 3:22-cv-01007-MGL
                                             )
TONNYA K. KOHN, in her official              )       ORDER TO CONDUCT MEDIATION
capacity as South Carolina State Court )
Administrator; DONALD W. BEATTY, )
in his official capacity as Chief Justice of )
the South Carolina Supreme Court.            )
                                             )
__________________________________ )


        A mediation is to be completed in this matter in accordance with the time limits set forth
in the scheduling order issued in this case. Upon completion of the mediation, counsel shall
advise the court in writing only that the mediation has occurred, the date of the mediation,
whether the case was settled in whole or in part, and whether a trial is necessary.

       Attorneys primarily responsible for handling the trial, parties and/or insurer
representatives with full settlement authority1 are ORDERED to be present in person and will be
excused only for good cause shown. Every person who is excused from attending in person must
be available to participate by telephone, unless otherwise ordered. At the mediation, primary trial
counsel, along with parties and/or their insurer representatives, should be prepared to participate
in a mutual, good faith effort to negotiate a fair and reasonable settlement. All necessary
discovery must be completed prior to mediation. Lack of discovery or settlement authority is no
excuse for failure to appear and/or participate. See Local Rule 16.09 DSC.

       Communications made in connection with or during the mediation are confidential and
protected by Federal Rule of Evidence 408, Local Rule 16.08(c) DSC, and Federal Rule of Civil
Procedure 68. If a settlement is not reached at the mediation, settlement discussions are neither
admissible at trial nor to be disclosed to the presiding judge, see Local Rules 16.08(c) and 16.10
(h) DSC, except as allowed by Local Rule 26.05(f) DSC.

______________________________

1
 “Full settlement authority” for the defendant means an individual who can decide to offer the
plaintiff a sum up to the existing demand of the plaintiff or the policy limits of any applicable
insurance policy, whichever is less. “Full settlement authority” for the plaintiff means the
plaintiff himself or herself or a representative of the plaintiff who can make a binding decision on
behalf of the plaintiff or plaintiffs.
      3:22-cv-01007-MGL         Date Filed 07/11/22       Entry Number 17        Page 2 of 2



       If any reason exists why any person, party or counsel subject to this Order should not
participate in this mediation, the court is to be advised of these reasons in writing immediately.

       Notices have been mailed to all counsel of record and any pro se parties. Counsel are
responsible for notifying and ensuring the presence of parties and/or insurer representatives as
described above.

      Any questions concerning the selection of a mediator or the mediation process generally
should be referred to the court*s ADR Program Coordinator, Billie Goodman, at (803) 253-3491.

       AND IT IS SO ORDERED.




                                               s/MARY GEIGER LEWIS
                                               UNITED STATES DISTRICT JUDGE



July 11, 2022
Columbia, South Carolina
